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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

   STATE OF RHODE ISLAND; STATE OF
   NEW YORK; STATE OF HAWAI‘I; STATE
   OF ARIZONA; STATE OF CALIFORNIA;
   STATE OF COLORADO; STATE OF
   CONNECTICUT; STATE OF DELAWARE;
   STATE OF ILLINOIS; STATE OF MAINE;                       Case No.: 1:25-cv-128
   STATE OF MARYLAND;
   COMMONWEALTH OF MASSACHUSETTS;
   PEOPLE OF THE STATE OF MICHIGAN;                   REQUEST FOR EMERGENCY
   STATE OF MINNESOTA; STATE OF                       TEMPORARY RESTRAINING
   NEVADA; STATE OF NEW JERSEY; STATE                 ORDER UNDER FEDERAL RULE
   OF NEW MEXICO; STATE OF OREGON;                    OF CIVIL PROCEDURE 65(B)
   STATE OF VERMONT; STATE OF
   WASHINGTON; STATE OF WISCONSIN;

         Plaintiffs,

         v.

   DONALD J. TRUMP, in his official capacity as
   President of the United States; INSTITUTE OF
   MUSEUM AND LIBRARY SERVICES;
   KEITH E. SONDERLING, in his official
   capacity as Acting Director of the Institute of
   Museum and Library Services; MINORITY
   BUSINESS AND DEVELOPMENT AGENCY;
   MADIHA D. LATIF, in her official capacity as
   Deputy Under Secretary of Commerce for
   Minority Business Development; HOWARD
   LUTNICK, in his official capacity as Secretary
   of Commerce; FEDERAL MEDIATION AND
   CONCILIATION SERVICE; GREGORY
   GOLDSTEIN, in his official capacity as Acting
   Director of the Federal Mediation and
   Conciliation Service; OFFICE OF
   MANAGEMENT AND BUDGET; RUSSELL
   T. VOUGHT, in his official capacity as Director
   of the Office of Management and Budget;

         Defendants.
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                   MOTION FOR A TEMPORARY RESTRAINING ORDER

         Pursuant to Federal Rule of Civil Procedure 65, Plaintiff States move for issuance of an

  order temporarily restraining Defendants from implementing actions in accordance with the

  President’s March 14, 2025 Executive Order titled “Continuing the Reduction of the Federal

  Bureaucracy” (“the Closure Order”) as they relate to the Institute of Museum and Library Services

  (IMLS), the Minority Business Development Agency (MBDA), and the Federal Mediation and

  Conciliation Service (FMCS) pending the Court’s review of the merits.

         The Closure Order directed these agencies to eliminate all programs and components not

  mandated by statute, and to reduce their statutorily mandated functions and associated staff to the

  minimum required by law. Exec. Order No. 14,238, “Continuing the Reduction of the Federal

  Bureaucracy,” § 2(a) (Mar. 14, 2025). The President further directed the Office of Management

  and Budget to withhold from these agencies any funds beyond the minimum necessary to fulfill

  their statutory functions. Id. § 2(c). The Closure Order gave the agencies just seven days to certify

  their “full compliance” with this directive. Id. § 2(b).

         IMLS, MBDA, and FMCS implemented the Closure Order by issuing decisions (“the

  Closure Decisions”) to dismantle their operations and cease performance of their functions, many

  of which are mandated by statute. The Closure Decisions are unlawful under the Administrative

  Procedure Act because they are arbitrary and capricious and contrary to law. 5 U.S.C. § 706. The

  Closure Order and the Closure Decisions also violate Separation of Powers principles and the

  Executive’s duties under the Take Care Clause of the Constitution.

         The Closure Order and the Closure Decisions are causing Plaintiff States immediate and

  irreparable harm—by eliminating millions of dollars in funding and terminating programs that

  benefit the States—every day they remain in effect. The balance of the equities also weighs
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  overwhelmingly in Plaintiffs’ favor. Plaintiff States thus respectfully request this Court schedule

  a hearing on this matter as soon as practicable and that the Court restrain Defendants from taking

  steps to shutter IMLS, MBDA, and FMCS as directed by the March 14 Executive Order.
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                                          INTRODUCTION

         President Trump is leading a campaign to dismantle vast swaths of the federal government.

  Even where Congress has codified agencies into law, given them a lengthy list of statutory

  responsibilities, and appropriated them funds to carry out their statutory duties, President Trump

  has repeatedly ordered their dissolution. That effort began with the U.S. Agency for International

  Development and the Consumer Financial Protection Bureau. It expanded to the Department of

  Education and the U.S. Institute of Peace. And it is clear that more is coming soon.

         On March 14, 2025, President Trump put seven more agencies in the crosshairs. That day,

  he issued an executive order (the “Closure Order”) directing the Institute of Museum and Library

  Services (IMLS), the Minority Business Development Agency (MBDA), the Federal Mediation

  and Conciliation Service (FMCS), and four other agencies to eliminate every one of their programs

  and components not mandated by statute, and to reduce their statutorily mandated functions and

  associated staff to the minimum required by law. Exec. Order No. 14,238, “Continuing the

  Reduction of the Federal Bureaucracy,” § 2(a) (Mar. 14, 2025). The President further directed the

  Office of Management and Budget to withhold from these agencies any funds beyond the

  minimum necessary to fulfill their statutory functions. Id. § 2(c). And the Closure Order gave the

  agencies just seven days to certify their “full compliance” with this directive. Id. § 2(b).

         For at least three agencies, “full compliance” has meant gutting their operations—

  statutorily mandated or not. IMLS has placed 85% of its staff on administrative leave, dramatically

  curtailed its administration of hundreds of grants and grant applications, and terminated statutorily

  mandated grant awards to several States. MBDA has cut its staff from roughly 40 to just five

  individuals and effectively ceased new grant solicitations. FMCS has slashed its staff from roughly




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  200 to 15 or fewer individuals and announced the termination of several of its core programs,

  including its mediation program for public sector entities.

         If permitted to stand, the shredding of these statutorily mandated agencies will inflict

  immediate and irreparable harms on the Plaintiff States, their citizens, and the public at large. The

  States rely on IMLS, MBDA, and FMCS to support their public libraries and museums, assist state

  entities in extending contracting opportunities to disadvantaged individuals, and prevent and

  resolve public-sector labor disputes involving State entities. The sudden halting of the agencies’

  work after decades of close cooperation will immediately put at risk hundreds of millions of dollars

  in grant funding on which the States depend, and undermine library programs, economic

  opportunity, and the free flow of commerce throughout the country.

         No President has authority to unilaterally dismantle federal agencies in this way. Plaintiffs

  are therefore likely to succeed on the merits of their claims that the Closure Order is unlawful. The

  sudden demolition of IMLS, MBDA, and FMCS is the epitome of arbitrary and capricious agency

  action: all three agencies severely curtailed their programs and operations without providing a

  word of reasoned explanation, considering the States’ reliance interests, assessing the available

  alternatives, or weighing the costs and benefits of ending their critically important work. Further,

  by stripping these agencies well past the studs, the Administration has flouted Congress’s

  directives. A skeleton crew of a few staffers cannot possibly fulfill the extensive statutory

  responsibilities Congress has assigned these agencies. And, in their severely diminished form,

  these agencies cannot expend or disburse anywhere close to the hundreds of millions of dollars

  funds that Congress appropriated them for this fiscal year. For much the same reasons, the Closure

  Order and its implementing directives violate the Constitution’s separation of powers, which




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  assigns Congress the power of the purse, and the Take Care Clause, which entrusts the President

  with the responsibility to faithfully carry out the laws Congress enacted.

         If the President believes that the federal government should cease supporting the nation’s

  libraries and museums, expanding economic opportunity to disadvantaged individuals, and

  resolving labor strife, he is free to advocate that view with Congress and the public. One option

  that our Constitution does not afford him, however, is to unilaterally destroy the agencies that

  Congress established to perform those functions. The Defendants’ actions implementing the

  Closure Order should be enjoined, and the Court should restore the agencies that Congress

  designed.

                                          BACKGROUND

  I.     The Administration’s Efforts to Dismantle Disfavored Federal Agencies

         The Closure Order is one of the most recent—and among the most brazen—of a

  lengthening series of efforts this Administration has undertaken to dissolve federal agencies

  established by Congress.

         The first of those efforts began within hours of the President’s inauguration. That day, the

  President ordered a pause on all funding provided by the U.S. Agency for International

  Development (USAID). See Exec. Order. No. 14,169, “Reevaluating and Realigning United States

  Foreign Aid.” (Jan. 20, 2025). Shortly thereafter, the Administration attempted to fire or put on

  leave thousands of USAID workers, close the agency’s headquarters, and cancel the bulk of its

  $40 billion in contracts and grants. Compl. ¶ 43. One court has enjoined these efforts in part,

  finding a likelihood of success on plaintiffs’ claims that the Administration lacked a reasoned basis

  for categorically suspending the agency’s foreign aid programs, and that the Administration

  violated the separation of powers by refusing to spend the funds that Congress appropriated. Aids



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  Vaccine Advoc. Coal. v. U.S. Dep’t of State, --- F. Supp. 3d ---, 2025 WL 752378, at *10-11, *14-

  17 (D.D.C. Mar. 10, 2025). 1

           The Administration next attempted to kneecap the Consumer Financial Protection Bureau

  (CFPB). On February 10, the Acting Director of the CFPB ordered all employees to stop work

  and engaged in “a hurried effort to dismantle and disable the agency entirely—firing all

  probationary and term-limited employees without cause, cutting off funding, terminating

  contracts, closing all of the offices, and implementing a reduction in force (‘RIF’) that would cover

  everyone else.” Nat’l Treasury Emps. Union v. Vought, --- F. Supp. 3d ---, 2025 WL 942772, at

  *1 (D.D.C. Mar. 28, 2025).                A district court enjoined those efforts, holding that the

  Administration’s attempt to shut down an agency created by statute was likely unconstitutional

  and contrary to law. Id. at *20, *40.

           On February 11, the Administration made clear that its demolition campaign would extend

  throughout the federal government. That day, the President issued an executive order directing

  every federal agency to “submit a plan to reduce the size of the Federal Government’s workforce,”

  and to “promptly undertake preparations to initiate large-scale reductions in force (RIFs).” Exec.

  Order. No. 14,210, “Implementing the President’s ‘Department of Government Efficiency’

  Workforce Optimization Initiative,” § 3(a), (c) (Feb. 11, 2025). He required these RIFs to

  prioritize the elimination of “[a]ll offices that perform functions not mandated by statute or other

  law.” Id. § 3(c). The Office of Management and Budget and the Office of Personnel Management



  1
   In a separate suit, the District Court for the District of Maryland held that the Department of Government Efficiency
  (DOGE) unlawfully directed the closure of USAID and issued a preliminary injunction ordering DOGE officials to
  reverse the closure. See Does 1-26 v. Musk, No. 15-0462, 2025 WL 840574, at *32 (D. Md. Mar. 18, 2025). The
  Fourth Circuit stayed the district court’s injunction because it concluded DOGE was likely not a proper defendant.
  Does 1-26 v. Musk, No. 25-1273 (4th Cir. Mar. 28, 2025). Judge Gregory wrote separately to explain that, while he
  agreed DOGE was likely not a proper defendant, the Administration’s “actions in closing USAID” were “likely
  unconstitutional.” Id. at 16 (Gregory, J., concurring only in the result).


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  issued a companion memorandum emphasizing that agencies should “focus on the maximum

  elimination of functions that are not statutorily mandated.” 2

          On February 19, the President targeted four more federal agencies for elimination. In an

  order entitled “Commencing the Reduction of the Federal Bureaucracy,” Exec. Order. No. 14,217,

  § 1 (Feb. 19, 2025), he instructed four federal entities, including the U.S. Institute of Peace, to

  eliminate their “non-statutory components and functions,” and to “reduce the performance of their

  statutory functions and associated personnel to the minimum presence and function required by

  law.” Id. § 2(a). Since then, the Administration has taken aggressive steps to shut down the

  Institute of Peace: it has fired all of the voting members of the Institute’s Board, replaced its

  president, and enlisted the aid of law enforcement to remove the Institute’s staffers from its

  headquarters. Compl. ¶ 46.

          The President has also undertaken aggressive efforts to abolish the Department of

  Education. On March 11, the Department of Education announced a nearly 50% cut to its

  workforce. Id. ¶ 47. And on March 20, President Trump issued an executive order directing the

  Secretary to “facilitate the closure of the Department of Education and return authority over

  education to the States and local communities.” Exec. Order No. 14,242, “Improving Education

  Outcomes by Empowering Parents, States, and Communities,” § 2(a) (Mar. 20, 2025). The

  Plaintiff States have filed suit to challenge that closure and the resulting RIF. See New York v.

  McMahon, No. 1:25-cv-10601 (D. Mass.).




  2
   See Memorandum for Heads of Executive Agencies and Departments, from Russell T. Vought, Director, Office of
  Management and Budget, and Charles Ezell, Acting Director, Office of Personnel Management, “Guidance on Agency
  RIF and Reorganization Plans Requested by Implementing The President’s ‘Department of Government Efficiency’
  Workforce Optimization Initiative,” at 2 (Feb. 26, 2025), https://www.opm.gov/policy-data-oversight/latest-
  memos/guidance-on-agency-rif-and-reorganization-plans-requested-by-implementing-the-president-s-department-
  of-government-efficiency-workforce-optimization-initiative.pdf.

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 II.     The Closure Order

         On March 14, the President ordered the dismantling of seven more agencies. That day, he

 issued the Closure Order, formally entitled “Continuing the Reduction of the Federal

 Bureaucracy.” Exec. Order No. 14,238 (Mar. 14, 2025). In terms nearly identical to the order that

 led to the forcible takeover of the Institute of Peace, the order directs seven congressionally created

 agencies, including the Institute of Museum and Library Services, the Minority Business

 Development Agency, and the Federal Mediation and Conciliation Service, 3 to eliminate their non-

 statutorily mandated functions “to the maximum extent consistent with applicable law,” and to

 “reduce the performance of their statutory functions and associated personnel to the minimum

 presence and function required by law.” Id. § 2(a). The Closure Order provides that “[i]n

 reviewing budget requests submitted by” the entities, “the Director of the Office of Management

 and Budget . . . shall, to the extent consistent with applicable law and except insofar as necessary

 to effectuate an expected termination, reject funding requests . . . to the extent they are inconsistent

 with this order.” Id. § 2(c). And it requires the heads of these entities to submit “[w]ithin 7 days

 . . . a report to the Director of the Office of Management and Budget confirming full compliance

 with this order and explaining which components or functions of the governmental entity, if any,

 are statutorily required and to what extent.” Id. § 2(b).

         Within one day of the President’s signing of the Closure Order, Congress passed, and the

 President signed, a continuing resolution funding the government through September 30, 2025.

 See Full-Year Continuing Appropriations and Extensions Act, 2025, Pub. L. No. 119-4 (2025)




 3
  The other agencies, which are not the subject of this lawsuit, are the Community Development Financial Institutions
 Fund, the United States Interagency Council on Homelessness, the United States Agency for Global Media, and the
 Woodrow Wilson International Center for Scholars in the Smithsonian Institution.

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 (“Continuing Appropriations Act”). That statute maintains funding for every agency subject to

 the Closure Order at the same level as they were funded in fiscal year 2024.

 III.    The Implementation of the Closure Order at IMLS, MBDA, and FMCS

         In the two weeks since it was issued, the Closure Order has already resulted in the

 devastation of IMLS, MBDA, and FMCS. Each of these agencies was established by Congress,

 has a detailed list of statutory duties, and was appropriated funds by Congress—often numbering

 in the hundreds of millions of dollars—as recently as March 15. Nonetheless, each of these

 agencies has made a final decision (the “Closure Decision”) to implement the Closure Order and

 to eliminate the vast majority of its programs, operations, and personnel.

                 A.       Institute of Museum and Library Services

         1. The Institute of Museum and Library Services is the primary federal agency responsible

 for supporting the country’s museums and libraries through grantmaking, research, and policy

 development. 4 Although funding for IMLS only constitutes 0.0046% of the federal budget, IMLS

 provides critical resources to libraries and museums across the United States. 5

         Congress established IMLS in the Museum and Library Services Act of 1996. Pub. L. 104-

 208, 110 Stat. 3009 (1996). It has reauthorized and extended the Institute three times since then—

 most recently in a law signed by President Trump in 2018. See Museum and Library Services Act

 of 2018, Pub. L. 115-410, 132 Stat. 5412 (2018) (codified at 20 U.S.C. §§ 9101 et seq.). The

 current reauthorization of the Institute extends until September 30, 2025.

         By statute, IMLS is required to have both an Office of Museum Services and an Office of

 Library Services. 20 U.S.C. § 9102. It is required to engage in regular research and data collection


 4
      Institute of Museum and Library Services, FY 2022–2026 Strategic Plan, at 3,
 https://www.imls.gov/sites/default/files/2022-02/imls-strategic-plan-2022-2026.pdf
 5
   American Alliance of Museums, AAM Statement on the Placing of IMLS Staff on Administrative Leave (Mar. 31,
 2025), https://www.aam-us.org/2025/03/31/aam-statement-on-the-placing-of-imls-staff-on-administrative-leave/.

                                                      7
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 to “extend and improve the Nation’s museum, library, and information services.” Id. § 9108. And

 it is charged with supporting museums and libraries across the States by disbursing and expending

 appropriated funds and providing other forms of assistance. Id. §§ 9121-9165 (libraries), 9171-

 9176 (museums).

        IMLS’s largest funding program—and the largest source of federal funding for library

 services—is the Grants to States Program. 20 U.S.C. § 9133(a). Under this program, IMLS awards

 a formula grant directly to State library administrative agencies to advance eight enumerated

 purposes, including expanding library services and access; improving librarian training,

 professional development, and recruitment; and targeting library services to diverse communities.

 Id. § 9141(a)(1)-(8). To obtain the funds, States must submit five-year plans. Id. § 9134(a). After

 a plan has been approved, IMLS pays each State the Federal share of the activities in the plan,

 which is 66%. Id. § 9133(b). All 50 States and the District of Columbia receive these grants from

 the IMLS. 6 Prior to the implementation of the Closure Order, the Grants to States program was

 administered by four program officers and one supervisor. See Blake Doe Decl. ¶ 17, Ex. 40.

        IMLS also administers a variety of competitive grant programs for libraries and museums. 7

 Its competitive grant programs for libraries include the Native American and Native Hawaiian

 Library Services Grants, which are awarded to eligible communities to establish, sustain, and

 improve library services, 20 U.S.C. § 9161; the National Leadership Grants for Libraries Program,

 which support projects that strengthen, develop, or enhance library services, id. § 9162(a)(1)-(5);

 and the Laura Bush 21st Century Librarian Program grants, which support projects to recruit the

 next generation of librarians, including librarians from diverse and underrepresented backgrounds,



 6
    Institute of Museum and Library Services, Grant Programs, https://www.imls.gov/find-funding/funding-
 opportunities/grant-programs (last visited Apr. 4, 2025).
 7
   Id.

                                                   8
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 id. § 9165(a)(1)-(3). Its competitive grant programs for museums include Museums for America

 grants, which support individual museums’ abilities to serve the public through programs, exhibits,

 professional development, and collections management, 8 and the Native American/Native

 Hawaiian Museum Service grant, which support Native tribes and organizations that primarily

 serve and represent Native groups. 9 And IMLS administers grants and programs under the

 National Museum of the American Latino Act, 20 U.S.C. § 80u(f)(2), and the National Museum

 of African American History and Culture Act, id. § 80r-5(b).

            IMLS also runs several other programs to support libraries and museums. IMLS’s Office

 of Research and Evaluation conducts ongoing research and collects and disseminates data annually

 to the public to improve the nation’s museum, library, and information services. Compl. ¶ 79. In

 2014, IMLS launched Museums for All, a national access initiative under which visitors who

 receive Supplemental Nutrition Assistance Program benefits are eligible for deeply discounted or

 free admission to more than 1,400 museums throughout the United States. 10 In 2024, IMLS

 launched InformationLiteracy.gov, a website designed for museum and library professionals and

 community-based organizations to provide resources and training on a variety of information

 literacy subject areas.

            As of March 14—the day President Trump issued the Closure Order—IMLS had a staff

 of approximately 77. In the 2025 continuing resolution, Congress appropriated IMLS $294.8

 million for Fiscal Year 2025. See Full-Year Continuing Appropriations and Extensions Act,




 8
   Institute of Museum and Library Services, Museums for America, https://www.imls.gov/find-funding/funding-
 opportunities/grant-programs/museums-for-america (last visited Apr. 4, 2025).
 9
    Institute of Museum and Library Services, Native American/Native Hawaiian Museum Services,
 https://www.imls.gov/find-funding/funding-opportunities/grant-programs/native-american-native-hawaiian-
 museum-services (last visited Apr. 4, 2025).
 10
      Museums for All, About, https://museums4all.org/about/ (last visited Apr. 4, 2025).

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 2025, Pub. L. No. 119-4, § 1101(a)(5); Further Consolidated Appropriations Act, 2024, Pub. L.

 No. 118-47 div. D (2024).

        2. Shortly after issuance of the Closure Order, IMLS leadership held an agency-wide town

 hall in which agency leadership notified employees that they anticipated IMLS might be stripped

 “down to the studs.” Blake Doe Decl. ¶ 6, Ex. 40. Agency leadership told employees to assume

 that they would soon be dismissed, and that a RIF plan would be implemented soon thereafter. Id.

        The expected closure occurred on March 31. That day, the agency’s Director of Human

 Resources informed staff that the entirety of IMLS would be placed on leave and that all grants

 would be terminated, with the potential exception of the Grants to States Program. Id. ¶ 11. (That

 “potential” exception quickly turned out to be not much of one. See infra p. 14.) The Director of

 Human Resources also advised that all but a handful of staff members should expect a RIF within

 30 days or less. Id. The same day, IMLS sent an email to state librarians informing them that

 “IMLS received word that all staff are going to be placed on administrative leave,” and that staff

 accordingly would “not be able to work or respond to your emails.” Compl. Ex. B (IMLS Email).

        On April 1, IMLS recalled 12 staff members from administrative leave. Blake Doe Decl.

 ¶ 15, Ex. 40. This skeleton crew is not capable of processing new grant applications or servicing

 existing grants. Id. ¶ 16. Prior to March 31, 35 employees administered the agency’s grant

 programs, of whom five were specifically responsible for administering the Grants to States

 Program. Id. ¶ 17. As of April 1, only four employees with experience administering grants are

 not on administrative leave, of whom only one administered the Grants to States Program. Id. ¶

 20. In addition, because none of the twelve employees works in IMLS’s Office of Research and

 Evaluation, it appears that this office effectively no longer exists. Id. ¶ 22.




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        On April 2, the Administration’s assault on this agency’s work continued. That day,

 Washington’s State Librarian received notification from the Acting Director of IMLS, Keith

 Sonderling, that the State’s $3,948,629 “Grants to States” award had been terminated effective

 April 1, because it was “inconsistent with IMLS’ priorities” and because the cancellation was

 “mandate[d]” by the President’s Executive Order. Jones Decl. ¶ ¶ 10-12, Ex. 34. The State

 Libraries of California and Connecticut received similar notices on April 2 informing them that

 California’s $15.7 million and Connecticut’s $2.1 million “Grants to States” awards were

 terminated. Lucas Decl. ¶ 17, Ex. 3; Schander Decl. ¶¶ 16, 31-33, Ex. 4. At the time of

 cancellation, nearly $3.4 million remained under California’s award, and $984,000 under

 Connecticut’s award, that had not yet been disbursed. Lucas Decl. ¶ 18, Ex. 3; Schander Decl.

 ¶ 22, Ex. 4.

        On April 3, 2025, the President began dismantling the Board of the IMLS. For example,

 Annie Norman, the State Librarian of Delaware, received an email from the Deputy Director of

 Presidential Personnel terminating her Board membership, notwithstanding the fact that she had

 been reappointed to a new five-year term in December 2024. See Norman Decl. ¶ 3, Ex. 5.

                B.      Minority Business Development Agency

        1. The Minority Business Development Agency is an agency within the Department of

 Commerce whose purpose is “to promote the growth, global competitiveness, and the inclusion of

 minority-owned businesses through data, research, evaluation, partnership programs, and federal

 financial assistance programs.” 11 Initially created in 1969 by Executive Order 11,458 (Mar. 7,




 11
     U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 16 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.

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 1969), the MBDA was authorized by statute in 2021. 12 See Minority Business Development Act

 of 2021, Infrastructure Investment and Jobs Act, Pub. L. 117-58, div. K (2021) (MBD Act),

 codified at 15 U.S.C. § 9501 et seq. By law, the Under Secretary of Commerce for Minority

 Business Development heads the MBDA. 15 U.S.C. § 9502(b)(1).

         MBDA’s principal statutory responsibility is to provide financial support to MBDA

 Business Centers—public-private partnerships that help minority business enterprises access

 capital and contracting opportunities, provide counseling and technical assistance to minority

 business enterprises, and otherwise facilitate the growth of such enterprises. 15 U.S.C. §§ 9522,

 9523(a)(1)-(3); see id. § 9524(a)(1)(A). The MBDA Office of Business Centers is administered

 by a Director, id. § 9502(d)(2), and is required to have “a regional office . . . for each of the regions

 of the United States,” id. § 9502(e)(2)(A).

         As of 2024, MBDA funded 41 MBDA Business Centers in 34 states and territories. 13

 MBDA Business Centers are essentially business consultancies that support the growth of

 Minority Business Enterprises (“MBEs”) by offering analytics, networking opportunities, and

 trainings. Many business centers are operated by state governments or their instrumentalities,

 including New Mexico, Connecticut, Hawai‘i, and Maryland. See Compl. ¶ 82.

         MBDA also funds a number of specialty centers. As of 2024, it funded 21 MBDA Rural

 Business Centers, which focus on assisting minority business enterprises in rural areas; four

 MBDA Advanced Manufacturing Centers, which aim to help manufacturers or domestic products;

 four MBDA Export Centers, which are dedicated to expanding access to global markets; and a




 12
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 5 (2024), https://www.congress.gov/crs-product/R46816.
 13
     U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 18–19 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.

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 Federal Procurement Center, which is designed to increase federal procurement and acquisition

 opportunities for minority business enterprises. 14

        The MBD Act also authorizes the Under Secretary to establish several other programs. She

 “shall, whenever the Under Secretary determines such action is necessary or appropriate,” (1)

 provide financial assistance directly or indirectly to minority business enterprises, (2) establish

 programs to encourage minority business enterprises to establish joint ventures and projects, and

 (3) engage in joint efforts with private and public sector entities to advance the growth of minority

 business enterprises. 15 U.S.C. §§ 9511(1)-(3), 9523(a)(1)-(3). Using this authority, MBDA has

 established several projects and programs to assist minority business enterprises. In 2024, these

 projects supported entrepreneurship education for formerly incarcerated persons, programs at

 minority colleges and universities, and American Indian, Alaska Native, and Native Hawaiian

 MBEs. 15

        In addition to providing financial assistance, MBDA is also required to collect and analyze

 data relating to minority business enterprises, 15 U.S.C. § 9513(a)(1)(A), to conduct economic

 research, studies, and surveys, id. § 9513(a)(1)(B)(i), and to provide outreach, educational services,

 and technical assistance in at least five languages, id. § 9513(a)(1)(C). In Fiscal Year 2023, the

 MBDA reported that its projects and programs served more than 2,000 MBE clients, produced

 more than $5.4 billion in economic benefit to MBEs, and contributed to MBEs creating nearly

 19,000 jobs. 16

        President Trump has repeatedly attempted to eliminate or gut MBDA. During President

 Trump’s first term, he proposed to eliminate MBDA and requested a $6 million budget “to be used


 14
      U.S. Dep’t of Commerce, MBDA, Fiscal Year 2025 Congressional Justification 16–19 (2024),
 https://www.commerce.gov/sites/default/files/2024-03/MBDA-FY2025-Congressional-Budget-Submission.pdf.
 15
    Id. at 20-21.
 16
    Id. at 8, 57, 59.

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 to close out the agency” in fiscal year 2018. 17 The Trump Administration’s Fiscal Year 2019,

 2020, and 2021 budget requests all proposed to reduce MBDA’s budget to approximately $10

 million. Congress declined these requests and appropriated $39 million, $40 million, $52 million,

 and $70 million, respectively, in each of these years. 18

         For Fiscal Year 2025, the Continuing Appropriations Act reappropriated $68,250,000 to

 MBDA. See Continuing Appropriations Act § 1101(a)(2); Further Consolidated Appropriations

 Act, 2024, Pub. L. No. 118-47, div. C, 138 Stat. 25, 123 (2024). As of March 14, MBDA employed

 approximately 49 full-time personnel. 19

         2. Shortly after issuance of the Closure Order, MBDA placed all but five of its employees

 on paid administrative leave. Alex Doe Decl. ¶ 5, Ex. 41. The remaining employees are the

 Deputy Under Secretary of Commerce for Minority Business Development, the Chief Operating

 Officer, the Chief of the Office of Legislative, Education, and Intergovernmental Affairs, a senior

 advisor, and a budget analyst. Id. MBDA subsequently announced that it was initiating a RIF,

 which will likely result in the termination of all but three employees currently on administrative

 leave. See Compl. Ex. C (MBDA Union Notice).

         The remaining five employees working at the MBDA are not capable of carrying out the

 MBDA’s statutorily mandated functions, administering its existing programs, or spending its

 appropriated funds. Alex Doe Decl. ¶ 7, Ex. 41. This skeletal staff is not sufficient to adequately

 monitor the existing portfolio of more than 100 grants or issue new grant awards in a timely

 manner. Id. ¶¶ 9-10, 11. Furthermore, all of the agency’s existing grants will expire on June 30

 or August 30, and the agency has not yet posted any new grants solicitations. Id. ¶ 11. The


 17
    See Cong. Rsch. Serv., R46816, The Minority Business Development Agency: An Overview of Its History and
 Programs 31 (2024), https://www.congress.gov/crs-product/R46816.
 18
    Id. at 31, 33.
 19
    Fiscal Year 2025 Congressional Justification at 46.

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 remaining staff of five employees cannot feasibly award new grants before many of the existing

 grants terminate, or in time to expend all of the remaining funds appropriated to the agency for

 fiscal year 2025. Id. ¶ 11. And the many state grantees who have obligated funds under these

 grants are at serious risk of being reimbursed belatedly or not at all. See infra pp. 38-40.

        MBDA has also taken other steps to effectively close the agency. It has allowed the

 contract that enables it to manage information for existing grantees to expire. Alex Doe Decl. ¶

 13, Ex. 41. It has terminated a number of agency programs and activities, including its Minority

 Business Center Advisory Council. Id. And it has placed on leave all staff responsible for its

 informational clearinghouse—a statutorily mandated activity to collect and share data on minority

 business enterprises. Id.

                C.      Federal Mediation and Conciliation Service

        1. The Federal Mediation and Conciliation Service is the federal agency responsible for

 “assisting parties to labor disputes in industries affecting commerce to settle such disputes through

 conciliation and mediation.” 20 29 U.S.C. § 173(a). Congress established FMCS in the Taft-

 Hartley Act of 1947. See Labor Management Relations Act, 1947, Pub. L. No. 80-101, § 202.

        By statute, FMCS is required to perform several functions related to the resolution of labor

 disputes. It provides labor mediation and conciliation services “to assist parties to labor disputes

 affecting commerce to settle such disputes.” 29 U.S.C. § 173(a)-(c). It conducts grievance

 mediations “as a last resort in exceptional cases” to resolve grievance disputes arising out of the

 application or interpretation of an existing collective-bargaining agreement.” 29 U.S.C. § 173(d).

 And it “encourage[s] and support[s] the establishment of joint labor management activities.” 29

 U.S.C. § 173(e).


 20
      FMCS, “Fast Facts about the Agency” (updated Jan.               2024),   https://www.fmcs.gov/wp-
 content/uploads/2024/02/FMCS-Fast-Facts-FY23-update-Jan-2024.pdf.

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          FMCS also provides a variety of other services to promote the peaceful resolution of labor

 disputes. It appoints arbitration panels and arbitrators; conducts skills development and conflict

 resolution training; and verifies signed union authorization cards when employers agree to use that

 method to recognize a union. Compl. ¶ 121. Upon information and belief, FMCS generally

 provides its mediation services and its educational and training services at no cost to the recipients,

 and it provides its arbitration panels and arbitrators to the parties at a below-market cost. 21 Id.

          FMCS is headquartered in the District of Columbia and has nine field offices and dozens

 of home offices located throughout the nation. In fiscal year 2024, FMCS mediated 2,318

 collective-bargaining negotiations, 1,362 high-impact grievance mediations, and 792 alternative-

 dispute resolution cases; conducted 1,477 single or multi-day training and intervention panels;

 provided 10,004 arbitration panels; and appointed 4,350 arbitrators. 22 States regularly rely on

 FMCS’s services: many State laws require FMCS to mediate public-sector dispute; dozens of

 States have collective bargaining agreements that call for FMCS to mediate or arbitrate disputes;

 and States often select FMCS as a mediator because it is a neutral, experienced third party that

 provides its services at minimal or no cost. See infra pp. 41-42.

          Congress appropriated FMCS $53,705,000 for Fiscal Year 2025.                 See Continuing

 Appropriations Act § 1101(a)(5); Further Consolidated Appropriations Act, 2024, Pub. L. No.

 118-47, div. B, 138 Stat. 460, 697 (2024). Prior to March 14, FMCS had approximately 200

 employees. See Burgess Decl. ¶ 4, Ex. 42. 23

          2. FMCS has gutted its staff and severely curtailed its operations in response to the Closure

 Order.    On March 18, 2025, FMCS sent a memorandum to its staff announcing a list of


 21
    Federal Mediation & Conciliation Service, FAQs, https://www.fmcs.gov/resources/faqs/#cbm-faqs.
 22
      FMCS, Role & Function of the Federal Mediation & Conciliation Service (Jan. 14, 2025),
 https://www.fmcs.gov/wp-content/uploads/2025/03/Role-Function-of-the-FMCS-FY24-Update-Jan-14-2025.pdf.
 23
    Id.

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 “Operational Adjustments” that were “Effective Immediately.” See Compl. Ex. D (FMCS Memo).

 In particular, the memorandum announced that the agency would conclude “all Public Sector

 work” as of April 18, 2025. Id. Further, the memorandum provided that no new grievance

 mediation cases would be accepted, and that “[a]s of March 14 all [grievance mediation] cases

 should be complete.” Id. It also provided that no new in-person Education, Advocacy and

 Outreach meeting should be scheduled; that no new card checks would be accepted; and that as of

 March 14, 2025, all card checks cases should be complete. Id. As a result of this memorandum,

 FMCS has ceased all work assisting in mediating disputes in the public sector. Thornton Decl. ¶

 15, Ex. 39.

         On March 26, 2026, FMCS informed its staff that nearly all employees would be placed

 on administrative leave, effective the following day. 24 Only approximately 10-15 employees, all

 located in the agency’s DC headquarters, were permitted to continue working. See Vaile Decl. ¶

 17, Ex. 26. Because the agency has only a “skeleton crew,” “[n]early all of services [FMCS had]

 provided—mediation for collective bargaining, grievances, employment disputes, EEOC

 complaints, and trainings with both unions and management to promote labor peace—are no

 longer going to be provided.” 25 Some unions have been told that FMCS “is basically being shut

 down.” Thornton Decl. ¶ 19, Ex. 39. The agency has initiated a RIF to terminate all but 15 of the

 employees remaining at the agency. See Burgess Decl. ¶ 7, Ex. 42.

                                              ARGUMENT

         Section 705 of the APA provides that a “reviewing court” may issue equitable relief “to

 postpone the effective date of an agency action or to preserve status or rights pending conclusion


 24
    See Fed. News Network, Federal labor mediation agency cuts staff down to ‘skeleton crew’ (Mar. 26, 2025),
 https://federalnewsnetwork.com/workforce/2025/03/federal-labor-mediation-agency-cuts-staff-down-to-skeleton-
 crew/
 25
    Id.

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 of the review proceedings.” 5 U.S.C. § 705. The court may also issue a temporary restraining

 order to preserve the status quo pending review. See New York v. Trump, --- F. Supp. 3d ---, 2025

 WL 357368, at *1 (D.R.I. Jan. 31, 2025). The factors governing both forms of interim relief are

 the same: (1) likelihood of success on the merits, (2) potential for irreparable injury; (3) balance

 of the relevant equities; and (4) the effect on the public interest. Id.; see Voice of the Arab World,

 Inc. v. MDTV Med. News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011) (citing Winter v. Nat. Res.

 Def. Council, Inc., 555 U.S. 7, 20 (2008)); Mass. Fair Hous. Ctr. v. U.S. Dep’t of Hous. & Urb.

 Dev., 496 F. Supp. 3d 600, 609 (D. Mass. 2020).

        All of these factors weigh heavily in Plaintiffs’ favor. Plaintiffs are likely to succeed on

 the merits because each agency’s Closure Decision is textbook arbitrary and capricious agency

 action; because the Closure Decisions contravene each agency’s statutory obligations and flout

 their governing appropriations; and because the Closure Order and the Closure Decisions violate

 the separation of powers and the Take Care Clause. The dissolution of these agencies also inflicts

 immediate, irreparable harm on the Plaintiff States. IMLS has already begun terminating or

 delaying the payment of funds that States need to operate their libraries and museums; MBDA has

 proven itself incapable of timely disbursing existing grant awards or soliciting new ones; and

 States were actively relying on FMCS mediation services the time the Closure Decision was

 issued. Furthermore, the public interest in preserving federal support for libraries and museums,

 disadvantaged business enterprises, and peaceful resolution of labor disputes outweighs the

 Administration’s interest in continuing its lawless campaign to shutter agencies established by

 Congress.




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    I. PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS.

                A.     The Closure Decisions Violate the Administrative Procedure Act.

                       1. The Closure Decisions Are Final Agency Actions.

        The Closure Decisions are “final agency actions” subject to review under the

 Administrative Procedure Act (APA). 5 U.S.C. § 704. The APA’s definition of “agency action”

 “cover[s] comprehensively every manner in which an agency may exercise its power.” Whitman

 v. Am. Trucking Ass’ns, 531 U.S. 457, 478 (2001); see 5 U.S.C. § 551(13). And an action is “final”

 if it (1) concludes an agency’s decision-making process and (2) determines rights or obligations or

 imposes legal consequences. Bennett v. Spear, 520 U.S. 154, 177-178 (1997).

        The Closure Decisions mark the conclusion of each agency’s process of deciding how to

 comply with the Closure Order and curtail its operations. Each of the seven agencies listed in the

 Closure Order was required to certify that it was in “full compliance” with the Closure Order as of

 March 21. Closure Order § 2(b). And IMLS, MBDA, and FMCS have each carried out that

 directive by dramatically cutting their programs and staff. IMLS has slashed its staff by 85%,

 informed grant recipients that its employees would no longer be able to “work or respond to

 emails,” left in place a skeleton crew unable to monitor existing grants or handle new grant

 applications, and terminated multiple existing grants. Blake Doe Decl. ¶ 13, Ex. 40; Compl. Ex.

 B (IMLS Email). MBDA has cut its staff from approximately 40 to 5, discontinued new grant

 solicitations, emptied the office responsible for its information clearinghouse, and “effectively

 closed the agency.” Alex Doe Decl. ¶ 14, Ex. 41. And FMCS has cut its staff from approximately

 200 to 15 and announced that it is halting several of its core programs, including public sector

 cases, grievance mediations, and education, advocacy, and outreach. Compl. Ex. D (FMCS

 Memo); Burgess Decl. ¶¶ 4, 7, Ex. 42.



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        These decisions will plainly determine “rights and obligations” and have “legal

 consequences.” Bennett, 520 U.S. at 178. IMLS and MBDA have halted grant solicitation and

 gutted offices that are necessary for the agencies to award hundreds of millions of dollars in

 funding to States and private entities. See Alex Doe Decl. ¶13, Ex. 41; Blake Doe Decl. ¶ 21,

 Ex. 40. FMCS has flatly stated that it will cease providing entire classes of services to States and

 the public. Compl. Ex. D (FMCS Memo). Each agency has also placed most of its workforce on

 administrative leave—immediately depriving them of access to email and locking them out of their

 offices—and initiated large-scale reductions in force. See Alex Doe Decl. ¶¶ 5, 6, 13, Ex. 41;

 Blake Doe Decl. ¶ 12, Ex. 40; Compl. Ex. C (MBDA Union Notice); Burgess Decl. ¶¶ 4-7,

 Ex. 42. By terminating large portions of what these agencies do, these decisions will have legal

 consequences for program beneficiaries, employees, and the public at large. They are therefore

 final and subject to review under the APA. See Biden v. Texas, 597 U.S. 785, 807 (2022) (holding

 that “attempt[] to terminate” programming constituted “final agency action”); Widakuswara v.

 Lake, No. 25-CV-2390 (JPO), 2025 WL 945867, at *4-5 (S.D.N.Y. Mar. 28, 2025) (holding that

 the U.S. Agency for Global Media’s implementation of the Closure Order constituted final agency

 action).

                        2. The Closure Decisions Are Arbitrary and Capricious.

        The APA requires agencies to engage in “reasoned decisionmaking,” Michigan v. EPA,

 576 U.S. 743, 750 (2015) and directs that agency actions be “set aside” if they are “arbitrary” or

 “capricious,” 5 U.S.C. § 706(2)(A). To satisfy this standard, an agency must “articulate a

 satisfactory explanation for its action including a ‘rational connection between the facts found and

 the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

 29, 43 (1983) (quoting Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). When



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 an agency “rescinds a prior policy,” the agency must, at minimum, “consider the ‘alternatives’ that

 are within the ambit of the existing policy,” “assess whether there were reliance interests,” and

 “weigh any such interests against competing policy concerns.” Dep’t of Homeland Sec. v. Regents

 of the Univ. of Cal., 591 U.S. 1, 30, 33 (2020); see Food & Drug Admin. v. Wages & White Lion

 Invs., L.L.C., --- S.Ct. ---, 2025 WL 978101, at *13 (U.S. Apr. 2, 2025) (describing the “change-

 in-position doctrine”). A court “may uphold agency action only on the grounds that the agency

 invoked when it took the action.” Michigan, 576 U.S. at 758 (citing SEC v. Chenery Corp., 318

 U.S. 80, 87 (1943)).

        All three agencies flunk this standard at the threshold. IMLS, MBDA, and FMCS have

 terminated vast swathes of their existing programs and operations—they have shut down core

 functions, see Compl. Ex. D (FMCS Memo), eliminated established components, see Alex Doe

 Decl. ¶ 13, Ex. 41, ended significant funding opportunities, see Blake Doe Decl. ¶ 16, Ex. 40, and

 reduced their staffs to caretaker crews incapable of carrying out basic agency functions. Yet the

 agencies have not attempted to offer any reasoned explanation for these consequential decisions.

 For example, in its memorandum informing employees that they would be placed on

 administrative leave, IMLS simply stated that this action was being “taken to facilitate the work

 and operations of the agency.” See Compl. Ex. A (IMLS HR Letter). Similarly, in its memorandum

 terminating core agency programs, FMCS did nothing more than cite the Closure Order’s directive

 to “perform only statutorily mandated functions.” Compl. Ex. D (FMCS Memo). And MBDA

 has yet to publicly acknowledge, let alone explain, the gutting of its staff and programs. The APA

 requires an agency to “explain ‘why it chose to do what it did,’” and these sorts of “conclusory

 statements”—or, in MBDA’s case, no statement at all— “will not do.” Amerijet Int’l, Inc. v.

 Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014) (citations omitted).



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        Moreover, there was much for the agencies to consider before shuttering their offices and

 programs. Prior to selecting this course of action, the agencies should have assessed the degree to

 which program beneficiaries—libraries, museums, business centers, contractors, labor unions,

 States and local governments, to name just a few—relied on the services and funding these

 agencies provided and would be detrimentally affected by the sudden elimination of so many of

 the agencies’ programs and personnel. Regents, 591 U.S. at 33. The agencies should have assessed

 the available alternatives to complete termination of these programs: phasing programs out

 gradually, for instance, or consolidating components to achieve efficiencies. Id. at 30. In addition,

 they should have weighed the purported benefits of elimination against the many apparent costs,

 such as the impairment of the agencies’ ability to facilitate the mediation of labor disputes, support

 minority business enterprises, or enhance the programming provided by the nation’s libraries and

 museums. See Michigan, 576 U.S. at 753 (“reasonable regulation ordinarily requires paying

 attention to the advantages and the disadvantages of agency decisions”). The agencies considered

 none of these things, however. And “[t]he reviewing court . . . ‘may not supply a reasoned basis

 for the agency’s action that the agency itself has not given.’” State Farm, 463 U.S. at 43 (quoting

 SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)).

        Indeed, it is not surprising that the Closure Decisions lacked any reasoned explanation.

 The Closure Order on its face directed the agencies to engage in arbitrary and capricious action: it

 instructed IMLS, MBDA, FMCS, and four other agencies that their “non-statutory components

 and functions . . . shall be eliminated” and that the agencies “shall reduce the performance of their

 statutory functions and associated personnel to the minimum presence and function required by

 law,” for no reason other than that “the President has determined [they] are unnecessary”—that is,

 for no reason at all. Closure Order § 2(a) (emphases added). It then required them to certify “full



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 compliance” with these directives within one week. Id. § 2(b). These directives left no room for

 the agencies to engage in reasoned analysis, assess alternatives, consider reliance, or do anything

 but eliminate their discretionary programs and gut their remaining operations. The agencies

 understood the President’s directive as just such a result-oriented command. See Compl. Ex. A

 (FMCS Memo) (stating that, pursuant to the Closure Order, “we are required to perform only

 statutorily mandated functions”); Lucas Decl. ¶ 19, Ex. 3 (terminating grants on the ground that

 the Closure Order “mandates that the IMLS eliminate all non-statutorily required activities and

 functions”). But—needless to say—the President does not have the power to order agencies to

 disregard the APA. See In re United Mineworkers of Am. Int’l Union, 190 F.3d 545, 551 (D.C.

 Cir. 1999) (“the President is without authority to set aside congressional legislation by executive

 order”).

        Regents provides a helpful point of comparison. In that case, the Supreme Court held that

 the Department of Homeland Security violated the APA when it terminated a single discretionary

 program—Deferred Action for Childhood Arrivals (DACA)—without considering alternatives to

 total rescission or taking into account the legitimate reliance interests of DACA recipients, States,

 and other entities. Regents, 591 U.S. at 20-33. In this case, the President has ordered seven

 agencies to eliminate all of their discretionary programs—and to gut their statutory programs, as

 well—in a matter of days. Three agencies have complied with that command without offering a

 word of reasoned explanation. The APA violation is inescapable, and the Closure Decisions are

 unlawful on that basis alone.

                        3. The Closure Decisions are Contrary to Law.

        The Closure Decisions are also inconsistent with the statutory requirements and

 appropriations laws that each agency is obligated to follow. See 5 U.S.C. § 706(1), (2)(A)



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 (directing courts to “compel agency action unlawfully withheld” and “set aside agency action . . .

 not in accordance with law”). IMLS, MBDA, and FMCS were all created by statute and vested

 with a lengthy list of statutory responsibilities. The same day that the President signed the Closure

 Order, Congress passed—and the President subsequently signed—a law appropriating each

 agency tens of millions of dollars to continue operating through the end of the Fiscal Year 2025.

 The Closure Decisions violate these congressional enactments in two respects: first, they disable

 the agencies from carrying out many of their statutory responsibilities; and, second, they render

 the agencies unable to spend the funds Congress appropriated.

                                a. The Closure Decisions are Inconsistent with the Agencies’
                                   Mandatory Statutory Duties.

        It is well-settled that federal agencies are “creatures of statute,” Nat’l Fed. of Indep. Bus.

 v. Dep’t of Labor, Occupational Safety and Health Admin., 595 U.S. 109, 117 (2022), and that

 they “may not ignore statutory mandates or prohibitions merely because of policy disagreement

 with Congress,” In re Aiken Cnty., 725 F.3d 255, 260 (D.C. Cir. 2013) (Kavanaugh, J.); see City

 of Providence v. Barr, 954 F.3d 23, 31 (1st Cir. 2020) (“When an executive agency administers a

 federal statute, the agency’s power to act is ‘authoritatively prescribed by Congress.’” (quoting

 City of Arlington v. FCC, 569 U.S. 290, 297 (2013))). The Closure Decisions flout this basic

 principle by disabling IMLS, MBDA, and FMCS from fulfilling a long litany of statutory duties

 that Congress assigned them.

        IMLS, for example, is responsible for administering the Grants to States Program—work

 that, by statute, includes evaluating 59 State and territorial plans each year, 20 U.S.C. § 9134(e)(1),

 “immediately notify[ing]” jurisdictions of noncompliant plans, id. § 9134(e)(3)(A), providing

 jurisdictions “technical assistance” to help bring them into compliance, id. § 9134(e)(3)(C),

 distributing funding in accordance with the plan, id. § 9133(a), and monitoring states to ensure


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 they are making appropriate expenditures (and taking appropriate corrective measures if they are

 not), id. § 9133(c). Congress also required IMLS to administer a series of competitive grant

 programs each year, including the Native American and Native Hawaiian Library Services Grant

 Program, 20 U.S.C. § 9161, the National Leadership Grants for Libraries Program, id. §

 9162(a)(1)-(5); and the Laura Bush 21st Century Librarian Program, id. § 9165(a)(1)-(3).

 Congress also made the agency responsible for administering grants and programs relating to the

 National Museum of the American Latino, id. § 80u(f)(2), and the National Museum of African

 American History and Culture, id. § 80r-5(b). And, among still other responsibilities, Congress

 instructed IMLS to engage in regular research and data collection to “extend and improve the

 Nation’s museum, library, and information services.” Id. § 9108.

        IMLS ordinarily carries out these responsibilities with a staff of 77, approximately 35 of

 whom are assigned to administer its grants programs. Blake Doe Decl. ¶¶ 17, Ex. 40. It is not

 possible for the agency to fulfill all of this work with a barebones crew of twelve. Id. ¶ 21. At any

 given time, there are hundreds of grants at some point in the award lifecycle. Id. ¶ 18. Twelve

 individuals, most of whom are not experienced with grants administration, cannot fulfill the

 agency’s statutory obligation to review applications, assist applicants, issue awards, monitor the

 use of funding, and take corrective action as to all of those grants. Id. ¶ 21. And IMLS has made

 clear that they will not: it has told employees that it will terminate existing grants and stop

 awarding new ones, id. ¶ 11; it has told state agencies that its employees will no longer

 communicate with them, Compl. Ex. B (IMLS Email); and it has already terminated mandatory

 statutory grants to three States, see Jones Decl. ¶ ¶ 10-12, Ex. 34; Lucas Decl. ¶ 17, Ex. 3; Schander

 Decl. ¶¶ 16, 31-33, Ex. 4. Furthermore, because the agency has emptied its Office of Research




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 and Evaluation, it will be impossible for the agency to engage in the regular research and data

 collection the statute requires. See 20 U.S.C. § 9108.

        MBDA’s position is similar. Congress has instructed that the agency “shall” provide

 financial awards and technical assistance to MBDA business centers, 15 U.S.C. § 9523(a)(3), and

 laid out criteria the agency must use in awarding funds, id. § 9524. It required MBDA to establish

 a “regional office for each of the regions of the United States,” id. § 9502(e)(2)(A), and listed the

 “Duties” of each of those offices, which include outreach, cooperation, and information-gathering,

 id. § 9502(e)(2)(B). Further, Congress required MBDA to collect and analyze data relating to

 minority business enterprises, 15 U.S.C. § 9513(1)(A), to conduct economic research, studies, and

 surveys, id. § 9513(1)(B)(i), and to provide outreach, educational services, and technical assistance

 in at least five languages, id. § 9513(1)(C).

        MBDA cannot perform these duties with a staff of five individuals. Alex Doe Decl. ¶¶ 7,

 9 -11, Ex. 41. This tiny staff—approximately 7% of the workforce for which the agency is

 budgeted—is incapable of monitoring existing grants for compliance or awarding new grants in a

 timely manner. Id. ¶¶ 4, 10-12. In addition, MBDA has simply stopped performing several of its

 statutory duties: it has ceased putting out new grant solicitations, performing statutorily mandated

 data-collection, or engaging in required communications with MBDA centers. Id. ¶ 13; Lundy

 Decl. ¶ 17, Ex. 12. And its five employees, by operation of simple arithmetic, cannot staff a

 “regional office for each of the regions of the country.” 15 U.S.C. § 9502(e)(2)(A).

        FMCS has likewise abandoned its statutory responsibilities. Congress “directed” FMCS

 to “make its conciliation and mediation services available in the settlement of . . . grievance

 disputes” arising out of the application or interpretation of an existing collective-bargaining

 agreement. 29 U.S.C. § 173(d). And Congress made it “the duty of the Service, in order to prevent



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 or minimize interruptions of the free flow of commerce growing out of labor disputes, to assist

 parties to labor disputes in industries affecting commerce to settle such disputes through

 conciliation and mediation.” Id. § 173(a). FMCS has explicitly made its grievance mediation

 services unavailable as of March 14, no matter the circumstances. See Compl. Ex. D (FMCS

 Memo) (“No new GM cases will be accepted. As of March 14 all GM cases should be complete.”).

 And FMCS has so dramatically cut its staff—from approximately 200 employes down to 15—that

 it cannot possibly provide conciliation services at anything approaching the volume or frequency

 necessary to fulfill its statutory mission. See Kadish Decl. ¶ 11, Ex. 14.

                            b. The Closure Decisions Violate Each Agency’s Appropriations
                               Statute.
        The Executive Branch may not “spend less than the full amount appropriated by Congress

 for a particular project or program.” In re Aiken Cnty., 725 F.3d at 261 n.1 (Kavanaugh, J.); see

 City & Cnty. of San Francisco v. Trump, 897 F.3d 1225, 1235 (9th Cir. 2018) (“Absent

 congressional authorization, the Administration may not redistribute or withhold properly

 appropriated funds in order to effectuate its own policy goals.”). This foundational separation-of-

 powers principle is reflected in the Appropriations Clause, which provides that “[n]o Money shall

 be drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S. Const.

 art. I, § 9, cl. 7. And it has been codified in the Impoundment Control Act, which provides that all

 funds appropriated by Congress “shall be made available for obligation” unless Congress itself has

 rescinded the appropriation, 2 U.S.C. § 683(b), and that “[n]o officer or employee of the United

 States may defer any budget authority” except in exceedingly narrow circumstances, id. § 684(b).

        In recent months, several courts—including this one—have been confronted with

 challenges to Congress’s primacy over appropriations. Each time, they have reaffirmed the

 Executive’s obligation to spend money appropriated by Congress. See, e.g., New York v. Trump,



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 --- F. Supp. 3d ---, 2025 WL 715621, at *1 (D.R.I. Mar. 6, 2025) (holding that “[t]he Executive’s

 categorical freeze of appropriated and obligated funds fundamentally undermines the distinct

 constitutional roles of each branch of our government”), stay pending appeal denied, --- F.4th ---,

 2025 WL 914788 (1st Cir. Mar. 26, 2025); Aids Vaccine Advoc. Coal. v. United States Dep’t of

 State, --- F. Supp. 3d ---, 2025 WL 752378, at *17 (D.D.C. Mar. 10, 2025) (holding that the

 Executive’s refusal to expend appropriated foreign aid funding intruded on “Congress’s own, core

 constitutional power to determine whether and how much money is spent”).

        This case presents a variant on this increasingly familiar theme. On March 15, 2025, the

 day after issuing the Closure Order, the President signed the Continuing Appropriations Act, by

 which Congress appropriated funds to IMLS, MBDA, and FMCS for the remainder of fiscal year

 2025 in the same amounts that they received the prior year. See Continuing Appropriations Act §

 1101(a)(2), (8) (incorporating applicable 2024 appropriations acts by reference). In particular,

 Congress appropriated $294,800,000 to IMLS “[f]or carrying out the Museum and Library

 Services Act of 1996 and the National Museum of African American History and Culture Act.”

 Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, div. D, tit. 4. It appropriated

 $53,705,000 to FMCS “to carry out the functions vested in it by the” Taft-Hartley Act. Id. And

 it appropriated $68,250,000 “[f]or necessary expenses of the Minority Business Development

 Agency in fostering, promoting, and developing minority business enterprises, as authorized by

 law.” Consolidated Appropriations Act, 2024, Pub. L. No. 118-42, div. C, tit. 1.

        Because it has dismantled each of these agencies, the Administration will not spend the full

 amount of funding appropriated by Congress—or anything close to it. All three agencies have

 dramatically curtailed the activities that constituted the largest line items on their 2024 budgets.

 Both IMLS and MBDA currently have a fraction of the staff dedicated to grant administration that



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 they did in 2024, making it virtually certain that they will be unable to disburse all of the tens or

 hundreds of millions of dollars in grants they are budgeted to award. 26 See Blake Doe Decl. ¶¶

 16–21, Ex. 40; Alex Doe Decl. ¶¶ 11–12, Ex. 41. And FMCS has 15 or fewer employees

 performing the work previously conducted by a staff of 200, meaning that it will incur only a small

 share of the expenses it otherwise would have paid for mediations, arbitrations, and conciliation

 services. 27 The Closure Order precludes the possibility the agencies will make up for these

 dramatic cuts with increases elsewhere by requiring each agency to minimize its footprint to the

 greatest extent possible, and by ordering OMB to “reject funding requests” inconsistent with that

 instruction. See Closure Order §§ 2(a), 2(b).

         The Closure Decisions thus effectively amount to orders rescinding any funds above the

 minimal level the Administration deems necessary to operate these agencies in a dramatically

 stripped-down form. Congress, however, made the choice to appropriate funds for these agencies

 to operate at full force—at precisely the same level, in fact, that they did the prior year. Because

 the orders are inconsistent with that congressional determination, they are unlawful.

                  B.       The Closure Order and the Closure Decisions Violate the Separation of
                           Powers.

         The Executive Branch’s attempts to dismantle IMLS, MBDA, and FMCS, to withhold from

 these agencies any funds beyond the minimum necessary to fulfill their statutory functions, and to

 prevent the agencies from disbursing funds appropriated to them by Congress, violates the

 constitutional separation of powers. The separation of powers doctrine is “foundational” and



 26
     See IMLS, Fiscal Year 2024 Appropriations Request to the United States Congress, (Mar. 2023),
 https://www.imls.gov/sites/default/files/2023-03/fy24cj.pdf (allocating more than $250 million for grants and $20
 million for administrative expenses); MBDA, Fiscal Year 2024 Congressional Justification (Mar. 2023),
 https://www.commerce.gov/sites/default/files/2023-04/MBDA-FY2024-Congressional-Budget-Submission.pdf.
 27
    See FMCS, Fiscal Year 2024 Congressional Budget Submission, at 23 (Mar. 13, 2023), https://www.fmcs.gov/wp-
 content/uploads/2023/03/2024-Congressional-Budget.pdf (allocating $42.3 million out of $55 million budget request
 to mediations, training, outreach, and workshops).

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 “evident from the Constitution’s vesting of certain powers in certain bodies.” Seila L. LLC v.

 CFPB, 591 U.S. 197, 227 (2020); see Trump v. United States, 603 U.S. 593, 637–638 (2024).

 Article I of the Constitution allows Congress—and only Congress—to make law. U.S. Const. art.

 I, § 1. Article I further allows Congress—and only Congress—to create and define federal

 agencies. See Myers v. United States, 272 U.S. 52, 129 (1926) (“To Congress under its legislative

 power is given the establishment of offices” and “the determination of their functions and

 jurisdiction”).

         By contrast, it is well-settled that the Executive’s powers are limited to those specifically

 conferred by “an act of Congress or from the Constitution itself.” Youngstown Sheet & Tube Co.

 v. Sawyer, 343 U.S. 579, 585 (1952). The Executive has no power “to enact, to amend, or to repeal

 statutes.” Clinton v. City of New York, 524 U.S. 417, 438 (1998). Under “the framework of our

 Constitution, the President’s power to see that the laws are faithfully executed refutes the idea that

 he is to be a lawmaker.” Youngstown Sheet & Tube Co., 343 U.S. at 587. And because the

 Constitution “exclusively grants the power of the purse to Congress, not the President,” City &

 Cnty. of San Francisco v. Trump, 897 F. 3d 1225, 1231 (9th Cir. 2018) (citing U.S. Const. art. I, §

 9, cl. 7), “settled, bedrock principles of constitutional law” require the Executive to expend the

 funds that Congress duly authorizes and appropriates. In re Aiken Cnty., 725 F.3d at 259

 (Kavanaugh, J.).

         Pursuant to its lawmaking authority, Congress duly established FMCS, MBDA, and IMLS,

 and gave these agencies detailed sets of duties, including implementing congressional

 appropriations. And on March 14, Congress passed a statute appropriating funds to FMCS,

 MBDA, and IMLS, which the President signed into law the very next day. See Continuing

 Appropriations Act § 1101(a)(2), (8). These appropriations pay for the agencies to continue



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 operating at full capacity through the end of the fiscal year. By issuing a Closure Order that slashes

 the agencies’ staff to the bare minimum, shutters many of their programs, and directs them not to

 use or disburse Congressionally appropriated funds, the Executive is usurping Congress’s

 authority to create and abolish federal agencies, as well as usurping Congress’s power of the purse

 by disregarding congressional appropriations.

        Several courts have recently found that the Trump Administration’s efforts to dismantle

 other federal agencies via Executive Order violate the separation of powers doctrine. In Aids

 Vaccine Advoc. Coal., the District Court for the District of Columbia found that the plaintiffs were

 likely to prevail on the merits of their claim that the Administration’s executive order directing a

 pause on all funding provided by U.S. Agency for International Development (USAID) violated

 the separation of powers doctrine by disregarding the appropriations that Congress ordered spent.

 2025 WL 752378, at *14-17. And the District Court for the Southern District of New York

 recently granted a temporary restraining order enjoining the Administration from taking any

 actions to implement this very same Closure Order with respect to the United States Agency for

 Global Media. Widakuswara, 2025 WL 945869, at *11. The court found that, among other things,

 plaintiffs had established a likelihood of success on the merits of their claim that the Closure Order

 was “not in accordance with the law” and “contrary to constitutional right, power, privilege, or

 immunity” because it violated the separation of powers doctrine. Id. at *7 (citation omitted). This

 Court should do the same.

                C.      The Closure Order and the Closure Decisions Violate the Take Care
                        Clause.

        Article II of the Constitution provides that the Executive shall “take Care that the Laws be

 faithfully executed.” U.S. Const. art. II, § 3; see also Morrison v. Olson, 487 U.S. 654, 690 (1988)

 (explaining that the President has a “constitutionally appointed duty to ‘take care that the laws be

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 faithfully executed.’”) (quoting U.S. Const. art. II, § 3). The Supreme Court has explained that

 “[u]nder our system of government, Congress makes laws and the President . . . faithfully

 execute[s] them.” Util. Air Reg. Grp. v. EPA, 573 U.S. 302, 307 (2014) (internal quotation marks

 and citation omitted). “Just as the Constitution prevents Congress from intruding on the President’s

 power to execute the laws, the President—and his subordinates—do not wield ‘authority to set

 aside congressional legislation by executive order.’” New York v. Trump, --- F. Supp. 3d ---, No.

 25-CV-01144, 2025 WL 573771, at *24 (S.D.N.Y. Feb. 21, 2025) (quoting In re United Mine

 Workers of Am. Int’l Union, 190 F.3d 545, 551 (D.C. Cir. 1999)).

        The Executive violates the Take Care Clause when it overrides statutes enacted by

 Congress. In re United Mine Workers, 190 F.3d at 551; see Kendall v. United States, 37 U.S. (12

 Pet.) 524, 613 (1838) (rejecting argument that by charging the President with faithful execution of

 the laws, the Take Care clause “implies a power to forbid their execution”). Here, the agencies

 subject to the Closure Order were established by Congress and given detailed sets of statutory

 duties. See Labor Management Relations Act, 1947, Pub. L. No. 80-101, § 202 (establishing

 FMCS); Museum and Library Services Act of 1996, Pub. L. 104-208, 110 Stat. 3009 (establishing

 IMLS); and Minority Business Development Act of 2021, Infrastructure Investment and Jobs Act,

 Pub. L. 117-58, div. K (Nov. 15, 2021) (authorizing MBDA). By dismantling FMCS, IMLS, and

 MBDA and disabling them from carrying out many of their statutory duties, the Executive has

 failed to faithfully execute the laws enacted by Congress in violation of the Take Care Clause.

        “In the framework of our Constitution, the President’s power to see that the laws are

 faithfully executed refutes the idea that he is to be a lawmaker.” Youngstown Sheet & Tube Co.,

 343 U.S. at 587. “[T]he President may not ... decline to follow a statutory mandate ... simply

 because of policy objections.” In re Aiken Cnty., 725 F.3d at 259. And as the Southern District



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 recently found, the President’s “job . . . is limited to ‘tak[ing] Care’ that such statutes be ‘faithfully

 executed.’” Widakuswara, No. 25-CV-2390 (JPO), 2025 WL 945869, at *7 (quoting U.S. Const.

 art. II, § 3). “Withholding congressionally appropriated funds, and effectively shuttering a

 congressionally created agency simply cannot be construed as following through on this

 constitutional mandate,” to “take Care that the Laws be faithfully executed.” Id.

 II.     PLAINTIFF STATES WILL SUFFER IRREPARABLE HARM IN THE
         ABSENCE OF INTERIM RELIEF.

         Plaintiffs will suffer immediate and irreparable harm if the Closure Decisions are permitted

 to remain in effect. State libraries and museums are entitled to millions of dollars in grant

 payments from IMLS in the coming weeks. As a result of the dismantling of IMLS, some of those

 payments have been terminated, while many others will be delayed, causing immediate and costly

 disruptions to critical state library and museum services. Similarly, because MBDA has been

 reduced to a caretaker staff, it is virtually certain to miss payments to State-run business centers,

 and it will miss the critical window to solicit grants in time to replace expiring awards. FMCS,

 meanwhile, furnishes a critical mediation and conciliation service that States were actively using

 at the time the agency was closed; in its absence, States will need to turn to more costly and less

 effective alternatives for addressing and preventing labor strife.

                 A.      Plaintiffs Will Be Irreparably Harmed by the Termination and Delay
                         of IMLS Funding to State Libraries and Museums.

         Starting in the next few days, the States will suffer immediate and irreparable harm from

 the dismantling of IMLS. Every one of the Plaintiff States receives millions of dollars in grant

 funding from IMLS through its Grants for States Program. Some Plaintiff States are expecting

 disbursements as early as next week: New Mexico’s State Library is expecting a reimbursement

 of over $500,000 on April 8, Garcia y Griego Decl. ¶ 21, Ex. 24, while Arizona is expecting a

 disbursement on April 11, Fontes Decl. ¶ 23, Ex. 1. Other Plaintiff States expect to receive
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 disbursements of their grants awards over the weeks that follow. See, e.g., Lucas Decl. ¶ 20, Ex.

 3 (disbursement expected April 15); M. Miller Decl. ¶ 23, Ex. 15 (disbursement expected April

 21), Nelson Decl. ¶ 40, Ex. 23 (disbursement expected April 22); Moore Decl. ¶ 2, Ex. 27

 (disbursement expected April 22); B. Miller Decl. ¶ 28, Ex. 35 (disbursement expected April 22);

 Schander Decl. ¶ 21, Ex. 4 (disbursement expected by April 30).

        Any delay in the payment of these funds will result in immediate, irreparable harms to the

 States. New Mexico explains that if it does not receive its expected disbursement on April 8, it

 will suffer “immediate and irreparable disruption to state library programs,” including the delay,

 suspension, or reduction of interlibrary loan services. Garcia y Griego Decl. ¶¶ 18, 22, Ex 24. If

 Arizona does not receive the reimbursement anticipated on April 11, it will experience “an

 immediate and ongoing disruption of services,” including disruptions to its academic and business

 databases and delays in the procurement of essential technology. Fontes Decl. ¶¶ 19, 23, Ex 1.

 Other States that expect payments in the coming weeks report that any delay will force libraries to

 “immediately . . . halt services and implement a hiring freeze,” Moore Decl. ¶¶ 28, 42 Ex. 27, or

 cause them to “stop statewide and local public library programs immediately,” Lucas Decl. ¶ 27,

 Ex. 3, hobbling state efforts to foster literacy, support learning and workforce development, and

 enhance community throughout the state, Mellor Decl. ¶ 24, Ex. 31.

        With an 85% staff cut at IMLS, however, it is inevitable that many of these disbursements

 will be delayed, if they are processed at all. Since the Closure Order was announced on March 14,

 Plaintiff States have reported either unusual delays in receiving disbursements or have not received

 disbursements at all. For example, on March 17, IMLS approved the Connecticut State Library’s

 request for a disbursement of $235,541.43 and the Library requested disbursement on March 20,

 2025. Schander Decl. ¶ 24, Ex. 4. Typically, funds are disbursed in two or three days, but to date,



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 no funds have been disbursed. Id. Similarly, on March 18, 2025, the Wisconsin Department of

 Veterans Affairs, which operates the Wisconsin Veterans Museum, submitted an approved

 reimbursement request that is still pending.          McElgunn Decl. ¶ 20, Ex. 38.        Typically,

 reimbursements are paid within four to seven days after submission. Id. Michigan has likewise

 been waiting for a disbursement since March 26, Riley Decl. ¶ 18, Ex. 21, and Massachusetts has

 been waiting for a reimbursement since March 19, Amyot Decl. ¶ 24, Ex. 44. If States already

 began experiencing a delay or a lapse in receiving funds while IMLS was still fully staffed between

 March 14 and March 31, it is inevitable that States will not receive funds timely—or at all—in the

 wake of the Closure Decision that resulted in a dramatic reduction in the agency’s staff.

         States whose grants that IMLS has already terminated will also plainly suffer irreparable

 harm absent interim relief. On April 2, IMLS terminated an award to Washington for which the

 State had a pending drawdown request of approximately $1 million. Jones Decl. ¶ 20, Ex. 34.

 This sudden, massive loss of resources “is already harming” the State’s library system, and will

 continue to do so “if that funding is not restored.” Id. ¶¶ 20, 22. On April 2, IMLS terminated a

 grant to California from which the State expected a disbursement on April 15. Lucas Decl. ¶¶ 18,

 20, Ex. 3. This loss has “create[d] both immediate and ongoing harm” to the State, including by

 causing “[p]rograms targeted to seniors, veterans and English learners” to be “diminished or

 halted.” Id. ¶ 31. Connecticut had a $235,541.43 disbursement request pending since March 17.

 Schander Decl. ¶ 24, Ex. 4. Now that its grant has been terminated, those funds remain on

 indefinite pause—resulting in an “immediate inability to pay invoices and salaries, meet

 contractual obligations, operate the statewide delivery service, [or] support statewide collections.”

 Id. ¶ 22.




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        States that receive competitive library or museum grants will also suffer immediate and

 irreparable harms if IMLS remains dismantled. The University of Wisconsin-Stevens Point’s

 Natural History Museum is currently awaiting disbursements under a grant it was awarded through

 the IMLS’s Inspire Grants for Small Museums program. Cornell-Swanson Decl. ¶¶ 11, 14, 16,

 Ex. 36. Continued delay in the receipt of these funds will stop the purchase of improvements

 needed to allow users with disabilities to access the museum’s full collection. Id. ¶ 16. Likewise,

 in the next four weeks, Maryland’s State-operated Banneker-Douglass-Tubman Museum expects

 to draw down funds awarded through the Museum Grant for African American History and

 Culture. Compton Decl. ¶¶ 9, 14, Ex. 13. Because the museum cannot be confident this funding

 will be provided, it has been forced to delay portions of a project to identify and inter 13 sets of

 human remains from the antebellum era. Id. ¶¶ 11, 16. The University of Maryland’s David C.

 Driskell Center also has hesitated to onboard temporary staff, contract vendors for digitization

 services, or initiate public programming under an IMLS grant due to the chilling effects of the

 Closure Decision. Ball Decl. ¶¶ 17 & 22, Ex. 17.

        In short, Plaintiffs are entitled to receive millions of dollars in IMLS funding in the coming

 weeks. Those funds must be paid on time in order to prevent immediate and serious disruptions

 to the States’ library and museum services. But the destruction of IMLS means that some of those

 payments will be, at best, substantially delayed, and, at worst, terminated altogether.

                B.      Plaintiffs Will Be Irreparably Harmed by Delays in the Disbursement
                        of MBDA Funds and Delays in the Solicitation and Award of New
                        MBDA Grants.

        Plaintiff will also be immediately and irreparably harmed by the dismantling of MBDA.

 Several Plaintiff States (or their instrumentalities) operate Business Centers that receive grant

 funding from MBDA, including New Mexico, Connecticut, Hawai‘i, and Maryland. See Compl.



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 ¶ 82. Some States also receive funding from MBDA through its pilot projects and programs. Id.

 If the closure of MBDA is not promptly enjoined, these Plaintiffs will suffer irreparable harm in

 at least two respects.

        First—much as with IMLS—several States expect the payment of funds from MBDA in

 the coming weeks, and any delay in the disbursement of those funds will cause them immediate

 harm. The University of Wisconsin Office of Business and Entrepreneurship, for instance,

 operates a program that receives $3 million from the MBDA to provide trainings and other services

 to advance capital readiness among women-owned businesses. Wikenheiser Decl. ¶ 12, Ex. 37.

 The University will submit its next payment request to MBDA by April 15, and expects to receive

 a disbursement of grants funds by April 30. Id. ¶ 21. If the University does not receive this

 disbursement “as scheduled,” it will not be able to pay students, independent contractors, or staff,

 and will need to draw funds from its own pocket to meet expenses. Id.

        Similarly, the University of Hawai‘i Maui College—which receives MBDA funding to

 provide entrepreneurship training to students—expects to receive its next reimbursement payment

 on April 28. Hokoana Decl. ¶¶ 13, 20, Ex. 11. “Any pause in funding would displace the students

 currently in training programs” and cause three staff members to lose their jobs. Id. ¶¶ 16, 17.

        The Entrepreneurial Development and Assistance Center (EDAC) at Maryland’s Morgan

 State University faces a similar situation. It is still owed $109,000 under existing grant awards

 from MBDA and has been unable to draw down funds for those awards since March 29, 2025,

 after 90% of MBDA staff were placed on administrative leave. Muhammad Decl. ¶ 10, Ex. 16. If

 EDAC’s MBDA funding is not promptly restored, then it will need to halt essential programs such

 as entrepreneurship education, one-on-one business guidance, and access to resources such as the

 content library for continued learning. Id. ¶ 12. And the uncertainty of not getting paid or



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 reimbursed already has had a chilling effect upon EDAC, eroding confidence among program

 participants and partners and limiting EDAC’s ability to foster economic development and

 entrepreneurship within underserved communities. Id. ¶ 13; see also Lundy Decl. ¶¶ 9, 16, Ex. 12

 (“[a]ny pause in funding” will have “immediate” impacts on the ability of the Baltimore MBDA

 Advanced Manufacturing Center to provide technical assistance and other services to

 disadvantaged manufacturing businesses).

        It is quite likely that MBDA, with only five employees, will fail to make payments as

 scheduled—or at all—in the coming weeks. The agency’s remaining staff is woefully insufficient

 to manage MBDA’s portfolio of more than 100 grants. Alex Doe Decl. ¶¶ 8-9, Ex. 41. And, since

 the Closure Decision, recipients have reported “unprecedented challenges in receiving MBDA

 funds.” Muhammad Decl. ¶ 9, Ex. 16; see Sangalli Decl. ¶ 24, Ex. 20 (describing “limited

 communications” from MBDA after its staff reductions). It is inevitable that some recipients will

 not be paid when due, and that the States and their instrumentalities will either need to forgo

 services to disadvantaged businesses or shell out their own money as a result.

        Second, unless MBDA is immediately restored to full operation, it will likely be impossible

 for Plaintiffs’ grants to be renewed in time to prevent a lapse of funding. As noted above, all

 MBDA grants will expire on June 30 or August 30. Alex Doe Decl. ¶ 8, Ex. 41. Even when

 MBDA is fully staffed, it typically takes four months from the posting of a new grant solicitation

 for MBDA to award new grant funds. Id. ¶ 11. Accordingly, MBDA must post a grant solicitation

 in the next few weeks in order to award new grants before the current grants expire on June 30.

 But, since the Closure Order, MBDA has not posted any new solicitations—and its current staff

 of five could not realistically award grants by June 30 even if it did. Id.




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        This will inevitably result in Plaintiffs suffering a lapse of funding, causing serious and

 irreparable harms to the services their MBDA-funded projects provide. To take one example: The

 University of Hawai‘i operates the MBDA Business Center Hawai‘i under an agreement with

 MBDA, and relies on MBDA for funding and access to the Salesforce platform. Deane Decl. ¶¶

 8, 14, 19-20, Ex. 10. For the next fiscal year, the MBDA Business Center Hawai‘i is scheduled to

 receive disbursements and reimbursements of $410,000 under its current awards. Id. ¶ 19. That

 grant must be renewed—along with all other MBDA Business Center grants—by June 30, which

 cannot feasibly be done by a barebones staff. Alex Doe Decl. ¶ 8, Ex. 41. Any loss of funding

 would prevent the Center from continuing to support clients’ projects and force it to default on a

 contract with the Hawai‘i YWCA to provide services to other small Hawai‘i businesses. Deane

 Decl. ¶ 16, Ex. 10.

        Similarly, the Baltimore City Mayor’s Office of Small & Minority Business & Advocacy

 operates the Baltimore MBDA Advanced Manufacturing Center under a $400,000 annual grant.

 Lundy Decl. ¶¶ 2–3, 8 & 13, Ex. 11. If the MBDA’s handful of remaining employees do not

 reissue Baltimore’s funding as scheduled, then the Advanced Manufacturing Center will cease

 operations. Id. ¶¶ 19–20. Likewise, the Rhode Island Small Business HUB in Providence relies

 on MBDA Capital Readiness Program funding to provide its consulting and networking services

 to startups across the State. Tanner Decl. ¶¶ 10-11, Ex. 29

                C.     Plaintiffs Will Be Irreparably Harmed by the Inability to Use FMCS
                       Services to Mediate and Arbitrate Labor Disputes.

        The Administration’s gutting of FMCS will also inflict immediate and irreparable harm on

 the States. Plaintiff States depend on FMCS to help mediate a wide range of labor disputes. Some

 state laws require the use of FMCS to mediate public sector labor disputes. See, e.g., Vaile Decl.

 ¶ 6, Ex. 26 (New Mexico). Forty-two states have entered collective bargaining agreements that


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 expressly call for the use of FMCS. See Thornton Decl. ¶ 7, Ex. 39; Vaile Decl. ¶ 13(a), Ex. 26.

 And states often choose to request FMCS’s assistance because it is an experienced, impartial entity

 that is effective at resolving labor-management disputes, and that does so at minimal or no cost.

 See Boivin Decl. ¶¶ 8, 11, Ex. 6; Delgado Decl. ¶ 9, Ex. 30.

        All but 10 to 15 of FMCS’s more than 200 employees have been placed on leave. The

 effective closure of FMCS—and the elimination of all of its services to the public sector—has

 inflicted ongoing and immediate harms on the States by preventing them from using FMCS to

 resolve labor disputes. Indeed, a number of States have pending labor disputes for which they

 would be using FMCS’s services but for the closure of the agency. The New Mexico Public

 Employee Labor Relations Board, for instance, had eight pending cases at the time of the Closure

 Decision in which the parties “hoped to obtain FMCS mediation services.” Vaile Decl. ¶ 21, Ex.

 26. Once FMCS benched 95% of its staff, however, those hopes “withered,” and the State—which

 is not “able and prepared to assist” the disputants in resolving the case—has been forced to turn to

 more expensive and less effective alternatives to try to resolve the matters. Id. Similarly, in

 Illinois, a school district had spent five months working with an FMCS mediator to resolve a labor-

 management dispute at the time the agency shut down. Id. ¶ 8.b. n.1. Since FMCS’s services

 “ceased to be available,” the union has issued a notice of intent to strike unless the dispute is

 resolved by early April. Id.

        The Associated Federation of State, County and Municipal Employees, AFL-CIO

 (“AFSCME”)—a private and public sector union—likewise explains that it had multiple pending

 mediations in which the parties were using FMCS services at the time of the Closure Decision.

 See Thornton Decl. ¶¶ 20-22, Ex. 39. That closure has resulted in “the immediate cessation of all

 FMCS assistance in the mediation of labor management dispute in the public and private sector.”



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 Id. ¶ 23. And the result has been the need to “find and utilize other more costly and time expansive

 method to resolve disputes,” and labor disputes that are “more likely to result in work disruptions.”

 Id.

           The dismantling of FMCS has also severely frustrated the state laws and collective

 bargaining agreements that depended on FMCS to function, imposing immediate costs on the

 States.    In New Mexico, for instance, most public-sector collective bargaining agreements

 expressly incorporate FMCS “strike lists” or panel services to help the disputants select an

 arbitrator. Vaile Decl. ¶ 8.c, Ex. 26. Because FMCS no longer provides public sector services,

 New Mexico anticipates “immediate harm to and obstruction of non-federal public sector labor

 relations in New Mexico,” as the parties will lack a clear path for selecting an arbitrator or

 resolving their disputes. Id. Further, because disputants will be unable to use FMCS-provided

 arbitration and mediation services, the New Mexico Public Employee Labor Relations Board

 anticipates a “huge influx of contract disputes” that it is “wholly unprepared in the short and

 medium term” to handle. Id. ¶ 9. Likewise, Rhode Island anticipates “prolonged labor disputes

 that could disrupt the provision of essential state services,” such as child welfare, and put the health

 and welfare of its residents at risk. Delgado Decl. ¶¶ 11-13, Ex. 30.

           Finally, the devastation of FMCS will cause irreparable harm to States that rely on its

 services to prevent costly—even life-threatening—disruptions to critical public- and private-sector

 industries. In Rhode Island, for example, FMCS ensures the peaceful resolution of labor disputes

 across the healthcare industry. See Taibi Decl. ¶ 10, Ex. 32. When healthcare workers strike, the

 public pays the price. See Martin Decl. ¶ 7, Ex. 45. Healthcare facilities must prepare and execute

 State-approved strike plans with constant State oversight, including State inspectors placed within

 the facility 24/7 to ensure vulnerable patient populations are not endangered. Id. Those costs are



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 borne by the State. Id. So, too, are the costs of hiring exorbitant contract workers, id. at ¶ 8, which

 can be passed on to the State Medicaid/Medicare systems. Furthermore, Rhode Islanders suffer

 from lower-quality care as experienced union employees are replaced by temporary replacements

 who are unfamiliar with the particular processes and facilities they are suddenly running. Id. at ¶

 9. Finally, in overtaxed healthcare systems like Rhode Island’s, even a week-long strike can topple

 vital facilities, such as the State’s only Level-1 Trauma Center, busiest maternity hospital, or

 largest psychiatric facility, into bankruptcy, leaving Rhode Islanders with few or no options for

 lifesaving care. Cf. id. at ¶¶ 9, 13 (describing costs of strikes). Other states face similarly dire

 consequences if critical industries are held up by unresolved labor disputes, from school closures,

 see Vaile Decl. ¶¶ 13, 16, Ex. 26, to public transit strikes, see id. ¶¶ 13, 16, 25, to public safety,

 see Kadish Decl. ¶¶ 3, 10, Ex. 14.

        Put simply, the Plaintiff States relied on FMCS—an especially effective and inexpensive

 mediator—to helps resolve disputes with public sector unions or to prevent disruptions of critical

 state industries. As long as FMCS remains shuttered, they will be deprived of those services, will

 need to turn to inferior options, and will face increased risk of strikes, labor strife, and litigation.

 That harm is imminent and irreparable.

 III.   THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST FAVOR
        INTERIM RELIEF.

        Where the government is a party, as it is here, the Court’s inquiry into the balance of the

 equities and the public interest merges. See Does 1-6 v. Mills, 16 F.4th 20, 37 (1st Cir. 2021); see

 also Mass. Fair Hous. Ctr. v. U.S. Dep’t of Hous. & Urban Dev., 496 F. Sup. 3d 600, 611 (D.

 Mass. 2020) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). These factors strongly favor

 preliminary injunctive relief in this case.




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         As the D.C. Circuit has explained, “[t]here is generally no public interest in the

 perpetuation of unlawful agency action.” League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C.

 Cir. 2016). “To the contrary, there is a substantial public interest in having governmental agencies

 abide by the federal laws that govern their existence and operations.” Id. (internal quotation marks

 and citation omitted). See also Massachusetts v. NIH, -- F. Supp. 3d--, 2025 WL 702163, at *32

 (D. Mass. March 5, 2025). Furthermore, “it is always in the public interest to prevent the violation

 of a party’s constitutional rights.” Dorce v. Wolf, 506 F. Supp. 3d 142, 145 (D. Mass.

 2020) (cleaned up); accord League of Women Voters, 838 F.3d at 12. Plaintiff States have

 established a high likelihood that the Executive has violated both constitutional and statutory

 safeguards. And as detailed supra, the States have also established a high likelihood of irreparable

 harm resulting from the dismantling of agencies established by Congress. Thus, there is a weighty

 public interest in favor of granting interim relief to stop the enforcement of these likely

 unconstitutional and unlawful agency actions. Saget v. Trump, 375 F. Supp. 3d 280, 377 (E.D.N.Y.

 2019) (where “Plaintiffs have shown both a likelihood of success on the merits and irreparable

 harm, it is also likely the public interest supports preliminary relief.”) (citing Issa v. Sch. Distr. of

 Lancaster, 847 F.3d 121, 143 (3d Cir. 2017)).

         On the other side of the balance, the Defendant agencies cannot demonstrate how the public

 interest would be harmed by a temporary pause in the dismantling of three federal agencies while

 the court determines whether such a dismantling is legally permissible. Indeed, “[i]t is hard to

 conceive of a situation where the public interest would be served by enforcement of an

 unconstitutional law or regulation.” Maine Forest Prods. Council v. Cormier, 586 F. Supp. 3d 22,

 64 (D. Me.), aff’d, 51 F.4th 1 (1st Cir. 2022) (citation omitted). Moreover, it is well-established

 that “the government ‘cannot suffer harm from an injunction that merely ends an unlawful



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 practice.’” Massachusetts v. NIH, --F. Supp. 3d--, 2025 WL 702163, at *32 (D. Mass. March 5,

 2025) (quoting Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013)).

          Furthermore, practical considerations recommend preliminary relief. Plaintiff States have

 identified numerous ways in which the public would suffer significant and imminent harm should

 they lose access to the expertise and funding offered by these agencies. States have a strong

 sovereign interest in promoting commerce while negotiating labor disputes, educating and

 inspiring future generations through their libraries and museums, and giving disadvantaged

 business enterprises a chance at the American dream. Should IMLS, MBDA, and FMCS close

 tomorrow, Plaintiff States would be thrown into chaos and uncertainty as they race to replace the

 funding and expertise that has suddenly been interrupted. The federal government, on the other

 hand, suffers not at all if it were to spend the appropriations as already planned and directed by

 with the passage of the Continuing Appropriations Act. To the extent the Defendants assert an

 interest in saving taxpayer dollars or reducing bureaucracy, such concerns “are insufficiently grave

 to overcome the much more substantial countervailing harms” to Plaintiff States. Newby, 838 F.3d

 at 13.

          Finally, the requested relief would “do no more than maintain a status quo that has been in

 place” for decades. Doe v. Trump, --F. Supp. 3d--, 2025 WL 485070, at *14 (D. Mass. Feb. 13,

 2025), aff’d sub nom., New Jersey v. Trump, --F.4th--, 2025 WL 759612 (1st Cir. March 11, 2025).

 The oldest of these agencies—FMCS—was established by the Truman Administration. The

 youngest—IMLS—has served the American public for more than a quarter of a century and is

 itself a continuation of an agency created by Lyndon B. Johnson. Given this history, there is no

 reason to believe that the public would suffer from allowing these agencies to promote peaceful

 labor relations, child literacy, and local businesses for at least a little bit longer.



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                                        CONCLUSION

        For the foregoing reasons, the Court should issue a stay of the Closure Decisions under 5

 U.S.C. § 705. In the alternative, the Court should issue a temporary restraining order enjoining

 Defendants from implementing the Closure Decisions and the Closure Order.




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                              INDEX OF EXHIBITS

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       4    CT       Deborah Schander                       State Librarian
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      14    MD       Chelsea Kadish                  Director of Labor Relations
      15    MD      Morgan Lehr Miller                      State Librarian
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                    Griego (Supplemental           Department of Cultural Affairs
                        Declaration)
      26    NM           Pilar Vaile           Public Employee Labor Relations Board
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